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SUMMONS R.D. NO. 2067

S'I`ATE OF 'l`ENNESSEE
lN 'I`HE CHANCERY COURT ()F MADlSON C()UNTY, TENNESSEE

"l`(): Midland National Life [nsurancc Company » f'_` » ’
c/o Commissioncr of Insurance m » _ m m
500 Jamcs Robcrtson Parkway
Nashvi|le, TN 37243

 

You are summoned to appear and defend a civil action filed against you entitlccl:

REG[NALD PUGH
v.
MIDLAND NA'I`IONAL LIFE INSURANCE C()MPANY
which has been liled in Chancery Court, l\/ladison County, 'l`ennessee, and your defense must he
made within thirty (30) days l`rom that date this summons is Served upon you. You are further
directed to tile your defense with the Clerl< of`the court and send a copy to Chad A. Naffziger,
(}ilbert Russell McWherter PLC, Plaintil`l`s` Attorncy, whose address is 101 North Highland,
Jackson, TN 38301. In case ot` your failure to defend this action by the above date. judgment

by default can be rendered against you for the reliet`dcmanded in the complaintI

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Byr /\0 mm

Deputy\€lerl< & Meister

 

 

RE"I`URN ()F SICRVICE

l hereby certil"y and return, that on the __________________ day ol` , 2013\
l served this summons together with a copy ol" the complaint herein as l`ollows:

 

 

 

 

 

Sheri l`l`

   

EXH|B|T

Dei)uty Sheri t`l"

  

 

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IN Fl{le CHAN( ERY COU R"I ()F MAI)lS()N COUN I Y, FFNVF?WF‘ ‘ §O(pr

 

 

 

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l)ef`cndant. j """"""{j&r"”:--~~ :

 

C()MPLAINT

 

( Olvle N()W the Plaintil`t`, Reg,inald Pugh (liereat`ter “l"uph ) by rind tlirou;,h counsel

and lor his claims awain‘it the Det`endant, l\/lidland National l,,,it`e insurance Compa,ny (heiealtei

l)ctendant ) would respectfully state and show unto the C`ouit ne Follows

I. l’ARTIES AND JURISI)IC']`ION

the Pl¢iintitt Reeintild Pugli, is a resident ot` the Slate ot Cieorgia At the time

l.
Pu;:,h entered into the contract tit ie€ue in this case, he was a resident ot Madiqoii Lounty,

lennes€ee Ftlrtlicr the eontreict at issue was executed in Jackson l\/ladison C ounty, tennessee

Detendant Midland Nationul Life lnsurance Company is ft Fc)rci<iii corporation

2.
engaged in the business ol`insurance in the Statc o[ lenne§sec
Juiisdietion and venue are proper in this Court pursuant to lenn Codc Ann §§

3.

l()-l l~l()2 and l()-l l-l l4.
Il. FACTS

lo obtain a lite insurance policy on the life ot` his sistei; Bienda l’ui:l Reg_,inald

4.
l’uwh met witli ( haile§ Buchanan an agent of Det`endunt` at Buehan.ln S ott`ice in April ot 1991

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5. /\t that time, Pugh applied for life insurance policies on the lives of his inothen
l\/tai'tha Piigh and sisters, fiaula and Brenda Pugh. Pug,h requested that Buchanan name Reginald
l’ugh as the owner and beneficiary of all three policies Reginald l)ugh was also named
beneficiary on all three policies

6. litichanan submitted three separate applications for the three separate policies on

/\pril 2. 1991 to Defcndant.

7. ll)efendant approved all three policies on April 11, 1991 and issued the policies
8. 1n 201 1, Brenda Pugh was diagnosed with eancer. She passed on .lune 18. 2012.

9. `i`he policy on the life of Brenda Pugh was for $35.()0().()() and bore Poliey No.
1605382 thereafter the "Poliey"‘).

1(). Following Brenda l’ugh’s death, Reginald Pugh made a claim for the benefits of
the life insurance policy. He was advised by Defendant that the Policy had expired.

11. Approxiinately ten ('10) months prior to Brenda Pugh`s death, Reginald Pugh
switched bank accounts lie had previously had the insurance premiums on all three policies
automatically withdrawn through electronic fund transfers on a mentiin basis Pugh consistently
contacted f)et`cndant regarding all three policies during this ten (l()) month time period in order
to make payments on all three policies from his new bank via electronic fund transfers as he had
done in the past.

12. Deti`endant refused to talk to Pugh regarding the policies on his mother and sister
even though he had made premium payments faithfully for the past twenty-one (21) years
l')et`endant did so on the basis that Pugh was not the owner ot`the Policy.

13, Dcfendant contends that throughout 201 1, they attempted to contact Brenda Pugh

in Grand .lunetion, 'l`e.nnessee regarding the expiration of the Policy. lrlowever, she was living

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with her daughter in l\/lemphis due to her cancer. Reginald l’ugh attempted to advise Det`endant
ot`this on numerous occasions, but again, Del"endant would not respond or speak with l)ugh.

14. Not until April l l, 2012 did Dei`cndant send Pug,h an electronic l`und transl`er l`orm
to be completed "l"his was actually sent in relation to the Policy ('#l$()2l)50743) on his mothcr,
t\'lartha Pugh. l’lease see attached Exhihit A.

15. l’ugh submitted the electronic t`und transl"er l`orm to l)et`endant on April 20, 20l 2
t`or all three policies Please see attached Exhibit B.

16. At this time, li)et`endant accepted the premiums l"or the insurance policies on the
lives ot` Martha Pug,h and Paula l)ugh. l)et`endant refused to accept the premiums on Brenda
Pugh's life insurance policy, at a time when they knew she was terminally ill with cancer.

l7. One basis li`or Defendant’s rel"usal to speak to l’ugh or accept premium payments
is that he was not the owner ot` the Poliey. This was not the intention ot` Reginald Pugh or
Charles Buchanan at the time the applications on all three policies were submitted Charles
Buchanan, Det`endant’s agent, has admitted that "`through an error and omission l did not indicate
l\/lr. Reginald l’ug,h as the owner, which is corrected at this time. He [Reginald Pugh] is also the
primary benel`tciary." Please see attached Exhil)it C.

IS. To obtain the l’olicy on the lil"e ol" Brcnda Pugh, Charles Buchanan completed the
application on behalf ot` l'{eginald Pugh and submitted it to l)cl`cndant. Reg,inald l’ugh was
intended to be the owner of the Policy. /\s such, Del"endant is bound by the knowledge ol` its
agents, particularly Charles Bnchanan.

19. Charles Buchanan was an authorized agent ot` Det`endant, and Del`endant may be

held vicariously liable for the wrongful acts ot`Charles Buchanan.

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2(). l’ursuant to"l`cnn. Code Ann. § 56-6-115(b)` "`an insurance producer who solicits
or negotiates an application l`or insurance shall be regarded, in any controversy arising lrom the
application t`or insurance or any policy issued in connection with the application between the
insured or insured’s beneficiary and the insurer, as the agent ot`thc insurer and not the insured or
insured’s beneticiary."’ 'l`hc purpose ol` "l`enn. Code Ann. § 56-6-115(b) is to prevent an
insurance company t`rom denying responsibility l`or the representations and actions ol` its agent
t`rom whom an application t`or insurance is voluntarily accepted and to protect an applicant who
relies on such representations and actions of the insurcr"s agent The statute is liberally
construed in the insured’s t`avor. l?i'// B/‘r)wn C'r)n.s‘f)'uc/ir)n C,`,'(),. /m‘. v. C)`Ieu Fu//.s' hist (_"r)., 8l8
S.W.Zd l, 4 ('l`enn. lt)@l).

21. Charles Buchanan was an insurance producer who solicited and negotiated the
application For insurance as [)et`endant"s agent under 'l`enn. Code Ann. § 56-6-1 l5tb).

22. At all times material hereto, Det`endant employed certain individuals including
but not limited to Charles Buchanan, l`or the purposes of soliciting insurance products, collecting
premiums receiving applicationsq binding coverage, etc.

23. Churles Buchanan had Del"endant’s authority to receive applications l"or, and on
bchult`ot`r Dcl`endant.

24. l’ugh and l)el`cndant/Charles Buchanan were in a contractual relationship as
customers and service/insurance provider, in which Det`endant/Charles Buchanan agreed to
provide Pugh with professional services and adequate and appropriate insurance coverage Pugh,
in turn, promised to pay t`or such services and coverage

25i Al`he knowledge ot` Charles l.}ttclianan is imputed to Det`endant. littrther, the

mistakes and negligence ot` Charles Buchanan are attributable to his principal. Del"endant,

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.tti'r§ § §§ limit
Because Charles Buchanan acted within the scope ol` his authority and filled out an application

for insurance and placed Brenda Pugh as the owner o’t` the l‘olicy rather than Reg_inald l’ugh as

agreed upon by Pugh and Buchanan, and without the knowledge participation, or collusion ot`

l-’ugh. then Charles Buchanan"s acts, mistakes, and representations in the application are deemed
to be those ot` his principal, l`)et`endant. l`)et`endant Cannot void the insurance policy and avoid
liability based on mistakes and misrepresentations made by its own agent, Charles Buchanan.

2(). Pugh believes and would show to the Court that he justifiably relied upon the
representations ot` Det`endant`s agent, Charles Buchanan, concerning coverage of the life of his
sister. Brenda l’ugh, and as a direct and proximate cause ot` such representation, has now su,l"t`ered
damages

27. l)et`endant’s refusal to honor its contractual commitment to pay Pugh the proceeds
ot` the Policy. has caused Pugh to seek legal counsel and to initiate this Complaint to recover the
insurance bcnetits to which he would have otherwise been entitled.

28. As a direct and proximate cause ot` Det`endants’ actions/inactions, Pugh has
sustained substantial compensable losses, including all benelits due Pugh under the l)olicy, and
other numerous and asserted incidental and consequential damages

l[l. CAUSES ()F ACTI()N
Count l- Breach of Contract

29. 'l`he allegations contained in paragraphs l through 28 ol" this Complaint are
incorporated by reference as it` set forth verbatim herein.

304 Dct`endants are liable to Pugh l"or breach ol"contract. The l)olicy was a valid and
binding agreement supported by consideration and Pugh made and or attempted to make all

payments as required by the policy.

 

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JUN t it limit
3l. Br‘ach ol" Contract NLI - Pugh contracted with De't`endant to provide insurance

on the lit`e ot` his sister, `Brcnda Pugh. Although (,`harles Buchanan did in i`act obtain Pugh a
policy ot` insurance with Det"endant, l’ugh’s claims have been denied and the Policy rescinded as
a result ol` Charles l_%uchanan’s completion and submission ot` the appli“ation. Del"endant is in
total, material breach ol` its contract with Pugh to procure appropriate insurance coverage t`or the
benth oi` Pugh, t`or which valuable consideration was paid.

32. Breach ot`Contract No. 2. Det`endant is also liable to Pugh t`or its breach ot` the

 

Poliey in that Def`endant refuses to pay Pugh the li`ace value ol" the Policy.

33. Any contractual provision in a policy of insurance may be waived by an ol`licer or
agent ol` the insurer who has actual or apparent authority to do so, lt is firmly established in
”l‘enncssee jurisprudence that an insurance company, by its agent`s conduct, may be estopped to
deny a waiver ot" provisions inserted in an insurance policy t`or the benefit ot` the company in
this case, the application submitted by Charles Buehanan led to Pugh`s claims being denied
through the mistake or negligence of Det"endant, not any misrepresentation by Pugh. Further.
[)et`endant accepted premiums paid by Pugh pursuant to the Policy l`or twenty~one (Zl) years
prior to refusing to accept premiums or communicate with him alter switching bank accounts

34. Pugh relied on the representations and promises of Det'endant concerning the
nature ot` the inst.irance coverage being provided [)el`endant knew that its representations
concerning the coverage Would induce Pugh to rely on such representations Injustice can only
be avoided by enforcement ot` the representations and agreement that coverage would be

afforded to Pug,h through the Policy.

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35. Dcfcndant waived the right to deny Pugh`s claims through the acts,
representations and knowledge of Det`endant, and therefore has breached the Policy by denying
that it is responsible to pay Pugh the face value ofthe policy.

36, As a result of Del`endant's breach ofcontract_ Pugh has suffered monetary losses`
and other numerous incidental and consequential damages, for which I')cfendant is liable.

Count ll - Statutorv Bad Faith

37. 'I`he allegations contained in paragraphs l throttin 36 of this Complaint are
incorporated by reference as if set forth verbatim hercin.

38. Defendant’s failure to pay the amounts contractually owed to Pugh is arbitrary
and capricious and constitutes bad faith pursuant to "I`enn. Code Ann. § 56-7~105 in that more
than sixty (60') days have passed since a formal demand has been made on f)efc.ndant and full
payment has not been made for the Loss as required pursuant to the Policy. for which the twenty-
ftve percent (25%) statutory penalty for bad faith should be invoked. A copy of the notice
required by T`enn. Code A'nn. § 56-7-105 is attached hereto as Exhibit D.

39. 'fhe bad faith of Dc.fendant is evidenced by the fact that, at all times hercto,
Dct`cndant kncw, or reasonably should have known, that Pugh was justifiably relying on the
money and benefits due him under the terms of the t’olicy and as otherwise promised and
represented by Defcndant. as well as the actions of l)efertdant as set forth in paragraph 40 belo\v.
chcrtheless, acting with conscious disregard for Pugh’ rights and with the intention of causing
or willfully disregarding the probability ofcausing unjust and cruel hardship on Pugh, Defendant
consciously ignored Pugh`s valid claim, denied Pugh'S claim, and withheld monies and benefits

rightfully due Pugh.

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4(). [`)et`endant’s bad faith is evidenced by all of the facts and allegations set forth

above in this (jTomplaint. together with the l`ollowing:

a. Defendant’s failure to fully inform Pugh of his rights and obligations under the
l)olicy:

b. Defendant’s failure to affirm or deny Pugh"s claim within a reasonable period
after his claim was submitted:

c. Defendant`s failure to attempt in good faith to effectuate a prompt, fair and
equitable settlement of Pugh`s claim when liability was reasonably clear;

d. l)efendant’s refusal to pay Pugh’s claim without conducting a reasonable

investigation based on all available information;

.”

Defendant’s refusal to fully investigate Pugh’s claim and obtain all available

information before denying his claim;

f. l)efendant’s engaging in acts and practices toward Pugh that amount to acts of
baseness, vileness, and/or depravity that are contrary to the good faith duties owed
to Pugh;

g. I')efcndant’s reckless and/or grossly negligent failure to properly pay Pugh fully
for his losses;

h. l.)efent'lant"s failure to pay all amounts due and owing under the Po|icy with no
reasonable orjustiftable basis;

i. l)cfcndant’s unjustified refusal to pay Pugh’s claim for its own financial

preservation;

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j. Defendant’s accusation that Pugh made misrepresentations on his application
without ever even questioning Pugh or Charles Buchanan regarding the
application and without conducting a reasonable investigation; and

k. Defendant`s refusal to communicate with l"ugh or accept premiums from Pugh on
the l’olicy after Pugh switched bank accounts

l. l`)efendant"s refusal to accept additional premium payments based on [)efendant’s
improper motive of seeking to avoid its contractual obligations under the Policy
after accepting premiums for over twenty years.

41. ln so acting, Defendant intended to and did injure Pugh in order to protect its own
financial interests, and should be punished via the twenty-five (25%) bad faith penalty as
authorized by statute.

Count lll - Common Law Bad Faith

42. l`l`he allegations contained in paragraphs l through 41 of this Complaint are
incorporated by reference as if set forth verbatim herein

43. Pugh alleges that Defendant is liable to him as a result of Defen<lant’s bad faith in
the handling, and ultimate denial. of Pugh`s claim resulting from the death of his sister Brenda
Pugh.

44. Defendant issued a policy of insurance to l-’ugh and Pugli made a lawful,

reasonable claim under the Policy.

45. Defendant intentionally refused to pay Pugh’s claim.
46. Del`cndant had no reasonably legitimate or arguable reason for its refusal to pay

the claim.

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47. Defendant had actual knowledge of the absence of a reasonably legitimate
debatable or arguable reason for the refusal to pay.

48. l)cfendant intentionally failed to determine whether it had a reasonably legitimate
or arguable reason for refusing to pay Pug_h’s claim.

49. Dcfendant has a duty to act in good faith when handling the claims of its insureds,
including the claim filed by Pugh as a result of the death of his sister, Brenda Pugh. Defendant`s
bad faith refusal to pay the instant insurance claim is a breach of that duty and imposes tort
liability

5(). l)efendant breached its duty to handle Pugh"s claim in good faith, in that its denial
of Pugh`s claim was not predicated upon circumstances that furnished reasonable justification
therefore

51. Pugh"s bad faith is further evidenced by all the facts and allegations set forth in
paragraphs 3'7-4lof this C`omplaint, all of which are incorporated herein by reference

52. l")efendant’s conduct was intentional, fraudulent, malicious, or reckless1 therefore
justifying an award of punitive damages

Count lV ~ Negligence And/or Negligcnt Misi'eprescntation

53. Tlic allegations contained in paragraphs 1-52 of this Complaint arc incorporated
by reference as if set forth verbatim hcrcin.

54. l)cl'cndants is liable to Pugh for negligence and/or negligent misrepresentation

55. Charles Buchanan provided insurance agent services to Pugh. Pugh looked to
Charlcs Buchanan to obtain the insurance coverage he sought and needed to ensure on the life of
his sistcr. Brenda Pugh. Pugh expected that he was being provided insurance coverage by a

sound company who could and would properly and promptly pay and honor claims if and when

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they were made. lt was C'harles Buehanan`s duty to keep Pugh, and Defendant. fully informed
and advised so that the life of Brenda Pugh was safely insured at all times. in exchange, Charles
Buchanan was paid for his serviecs.

56. In providing the aforementioned services to Pugh, C`harles Buchanan, as well as
his employees/agent including_ but not limited to Charles Buchanan, was acting within the
ordinary course of his business as an agent of Dcfendant.

57. [)el`endant owed Pugh a duty (l) to ensure adequate insurance coverage based on
Pugh`s needs and requests; (2) to counsel and guide Pugh regarding the insurance application;
(3) to confer with Pugh in completing the insurance application; (4) to allow Pugh to review the
application before it is submitted; (5) to act with reasonable care and diligence in securing
insurance coverage for Pugh; (6) to incorporate all information requested by Pugh that was
provided to Charles Buchanan into the application; and (7) to act as a reasonably prudent
insurance agent. lt is the universal rule that an agent or broker ofinsurance who is compensated
for his services and undertakes to procure insurance for another and unjustifiany fai|s, will be

held liable for any damage resulting

58. Dei`cndant is liable for the actions/inactit_)ns of its agents, which Buchanan was.
59. Det`endant breached each of the above duties
60. l)cl`endant |:)ron'\ised to provide l’ugh coverage on the life of Brcnda Pugh, and

Pugh justifiably and reasonably relied on Det`endant`s representations, skill, and expertise to his
detriment
o|. Addi,tionally, Defendant was negligent in failing to adequately train and supervise

its employees/agents Specifically, Defendant was negligent in failing to adequately train and

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supervise Charles Buchanan and any Other agents involved in the procurement ot` the policy at
issuc.

62. De`cndant’s negligence was the cause-in-i`act, legal` and proximate Cause ot`
l’ugh’s damages

63. As a result ol` Det"endant`s negligence and/or negligent misrepresentation, Pugh
has suffered substantial damages

Wl~lEREFORE, as a result of the l`oregoing, Pugh Would respectfully request that this
l~lonorable (`.`.`oui“r award ajudgment against Del`endant as t"ollows:

A. l`~`or compensatory damages not to exceed $l l)(),()l)().()();

B. l"`or punitive damages not to exceed nine (9) times Pugh`s compensatory damages

or $9()().()00.00;

C. P`or all costs incurred by Pugh as a result c)l`this action;
D. l"`or a bad faith penalty of an additional twenty-live percent (25%) added to

Pugh`s claim as authorized by statute;
l:. lior pre- and post-judgment interest', and

F. For such other further and general relict`as this C<)urt deems just and equitable

 

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Respectt`ully submitted,

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C()S'l` B()NI)

We stand as sureties l"or costs in this cause.

  

Gll_,BER_rIySS El,.L MCWHER'I`ER Pl., "

 

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EXHIBIT A

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.2./ Life Insurance Company

Aprii 11,2012

REGINALD PUGH
325 JEFFERSON DR
COLUMBUS GA 3l907

RE: Policy Number l5020507h3

Dear Policyowner:

Thank you for allowing Midland National to be your life insurance
provider. We appreciate the opportunity to provide you with some
additional information about our Electronlc Fund Transfer plan to pay
policy premiums.

On the reverse side of this letter you will find an authorization form For

you to complete, sign and return to us. Please include a voided check, not

a deposit slip. then times deposit slips do not contain the account number
information needed to set up drafting from a checking account.

lf you would like your withdrawal on a specific day of the month, please
indicate this on the form. if a date is not requested, we will withdraw on
the policy "month~lversaryll (each month on the same date on which your
policy was lssued).

we value our relationship and will continue to provide the high quality
services you desire...and deserve. if we can assist further, including any
other life insurance or annuity needs you may have, please contact us at
Extension 32260. You may also access our website, www.mnlife.com 2§ hours a
day for additional information. Thank you For your business. ~

Si cerely,

d/ .{/LW tM{{M¢

ient Communications

cc: AGENT - You may contact us at - PHONE NUMBER: (605)373~2260

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EXHIBIT B suit ii ii ;€Lii;;

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W@//cl$ ?:a”.t/:)D Bd,,v};) /U,'IL} GC,QV`ONL ‘
As a convenience to me (ua). l (we) request and authorize Midland Nationai Liie insurance Company ("the Company") to obtain payment of amounts
becoming due the company by initiating charges to my (our) account in the form ot checi<.t. draits, share drafts or electronic debit entries, and l (wo)
request and authorize the financial institution named above to accept and honor the same and charge the same to my (our) account This Authorizalion will

remain in aiiect until l iwo) nolity the Company or financial institution in writing to terminate and the Comoany or the iinanciai institution has a

reasonable

; llrno to act on the termination l twe) hereby terminate any prior Authorization cl the Company to charge twin account effective the date on wh'ch the met

charge te initiated by the Ccmpany under this Authon‘zation. l (wa) understand that i (we) may stop payment ot a
institution before my tour) account is charged, and i (we) may have the amount of on erroneous electronic debit entry immediately credited

account with 15 days after issuance of my (our) statement oi 45 days after pooiing, whichever occurs first This Authorization will become el
upon acceptance by the Company et the address shown beiow.

 

ny charge by notifying the Hnonc|ai

to my (our)
feolivo only

 

 

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Fram tire desk of:

Charles Ba_ci_r_rr;n’art

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Jun¢ 22, 2012

lr<) macn.r'r tour oonc:»me:

please accept this letter to*~erify that I, Chorleo D
Buchenan, representing Midland National LL£Q Ineurance Co,
sold a life insurance policy to Mr. Reginald Pugh on the
insured Brenda Pugh some 20 plus years Aqo.

However through an error and omission I did not indicate
M:. Reginald Pugh as the owner, which bbnoocrected at this
tim¢. He is also‘listed an the primary beneficiary.

The policy number is 169538].

Sincarely,

ciri»;airléw

Charles D; Buchanan

error i

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iOl N. quh|and 'a¢;kson. TN 3330|' ill 5641340 (T_‘r 731.")1§4|5-10:’F)

February l, 2013

i\/‘lidland National Life insurance Cert/'f/‘ed Moii/Return Receipt
Attn: C|oims Manager

One Samrnons Plaza

Sioux Falls, SD 57193

Re: lnsured: Brenda Pugh/Reginald Pugh
Pollcy No.: 1501695382
Date of Death: iune 18, 2012
Our‘ File No. 2298-l

Dear Sir or Madame:

This letter will serve for purposes of making a formal demand for payment as authorized
pursuant to Tenn. Code Ann. § 56~7-105. in that regard, Reginald Pugh, beneficiary of the
above referenced policy, hereby gives formal demand that the insurance policy issued by you
on the life of Brenda Pugh be paid in full and/or otherwise honored This demand is being
made so that Midland National Life insurance Company has an opportunity to investigate
and/or reconsider the c|alm,' to give notice of our intent to assert a bad faith claim if it is not
paid in fuil; and to memorialize the fact that after sixty (60) days have expired from receipt of
this notice, that a lawsuit will be filed to enforce the insurance contract at issue, plus damages
for bad faith as authorized by statute As such, please respond accordinglyl '

¥ours very truly,
GlLBERT RUSSELL MCWHERTER PLC

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Chad A. Nafleger

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